                            Case 1:08-cr-00265-AWI
                                     UNITED STATES Document 12 COURT
                                                     DISTRICT   Filed 08/18/08
                                                                       FOR THEPage 1 of 2
                                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                   )                                                                              1:08-cr-00265 AWI
                                                                                                              Case No. ____________________________
                                            )
                   Plaintiff,               )
            V.                              )
                                                                                                              DETENTION ORDER
                                            )
       MARIO   FRANCO    (3)
_____________________________,              )
                                            )
                   Defendant,               )
___________________________________________ )

A.          Order For Detention
            After conducting a detention hearing pursuant to 18 U.S.C. §3142(f) of the Bail Reform Act, the Court
            orders the above-named defendant detained pursuant to 18 U.S.C. §3142(e) and (i).

B.          Statement Of Reasons For The Detention
            The Court orders the defendant's detention because it finds:

     ✔     By a preponderance of the evidence that no condition or combination of conditions will reasonably assure
           the appearance of the defendant as required.
   ✔       By clear and convincing evidence that no condition or combination of conditions will reasonably assure the
           safety of any other person and the community.

C.          Findings Of Fact
            The Court's findings are based on the evidence which was presented in Court and that which was contained
            in the Pretrial Services Report, and includes the following:

  ✔
_____ (1) Nature and circumstances of the offense charged:
                                21:846 and 841(a)(1) and (b)(1)(A) - Conspiracy to Manufacture Marijuana, 21:841(a)(1) and (b)(1)(A) and 18:2 - Cultivation of Marijuana and Aiding and
         ✔ a. The crime: Abetting; 21:841(a)(1) and (b)(1)(D) - Possession of Marijuana with Intent to Distribute.
                 is
                 areaserious
                      serious    crime
                             crimes   and and
                                           carriescarries
                                                     a maximum a maximum            penalty
                                                                      penalty of life  in prisonof    - $4 million fine (each as to counts 1 and 2).
                                                                                                    and
             b. The offense is a crime of violence. -
             c. The offense involves a narcotic drug. -
         ✔   d. The offense involves a large amount of controlled substances, to wit:
                             1,000 or more marijuana plants
  ✔
_____ (2) The weight of the evidence against the defendant is high.
  ✔
_____ (3) The history and characteristics of the defendant including:
              a. General Factors:
                 The defendant appears to have a mental condition which may affect whether the defendant will
                 appear.
                 The defendant has no family ties in the area.
                 The defendant has no steady employment.
                 The defendant has no substantial financial resources.
                 The defendant is not a long time resident of the community.
                 The defendant does not have any significant community ties.
                 Past conduct of the defendant:

                              The defendant has a history relating to drug abuse.
                              The defendant has a history relating to alcohol abuse.
                              The defendant has a significant prior criminal record.
                              The defendant has a prior record of failure to appear at court proceedings.



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       _____ b. Whether the defendant was on probation, parole, or release by a court:
                At the time of the current arrest, the defendant was on:
                Probation
                Parole
                Release pending trial, sentence, appeal or completion of sentence.
         ✔
       _____ c. Other Factors:
         ✔      The defendant is an illegal alien and is subject to deportation.
                The defendant is a legal alien and will be subject to deportation if convicted.
                Other:

  ✔
_____ (4) The nature and seriousness of the danger posed by the defendant's release are as follows:
           This is a rebuttable presumption case involving controlled substance violations, including offenses for which the maximum penalty is life
           imprisonment.
  ✔
_____ (5) Rebuttable Presumptions
          In determining that the defendant should be detained, the Court also relied on the following
          rebuttable presumption(s) contained in 18 U.S.C. §3142(e) which the Court finds the defendant has not
          rebutted:
        ✔    a. That no condition or combination of conditions will reasonably assure the appearance of the
              defendant as required and the safety of any other person and the community because the Court
              finds that the crime involves:
                      (1) A crime of violence; or
                      (2) An offense for which the maximum penalty is life imprisonment or death; or
                 ✔    (3) A controlled substance violation which has a maximum penalty of 10 years or more; or
                      (4) A felony after the defendant had been convicted of two or more prior offenses described
                       in (1) through (4) above, and the defendant has a prior conviction for one of the crimes
                       mentioned in (1) through (3) above which is less than five years old and which was
                       committed while the defendant was on pretrial release.
             b. That no condition or combination of conditions will reasonably assure the appearance of the
              defendant as required and the safety of the community because the Court finds that there
              is probable cause to believe:
                      (1) That the defendant has committed a controlled substance violation which has a
                       maximum penalty of 10 years or more.
                      (2) That the defendant has committed an offense under 18 U.S.C. §924(c) (uses or
                       carries a firearm during and in relation to any crime of violence, including a crime of
                       violence, which provides for an enhanced punishment if committed by the use of a
                       deadly or dangerous weapon or device).
             c. That the defendant has committed an offense after April 30, 2003, involving a minor victim under
             sections 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252
              (a)(3), 2252A (a)(1), 2252A (a)(2), 2252A (a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or 2425
              of Title 18.

D.    Additional Directives
  ✔
_____ Pursuant to 18 U.S.C. §3142(i)(2)-(4), the Court directs that:
      The defendant be committed to the custody of the Attorney General for confinement in a corrections facility
      separate, to the extent practicable from persons awaiting or serving sentences or being held in custody
      pending appeal; and
      The defendant be afforded reasonable opportunity for private consultation with his counsel; and
      That, on order of a court of the United States, or on request of an attorney for the Government, the person in
      charge of the corrections facility in which the defendant is confined deliver the defendant to a United States
      Marshal for the purpose of an appearance in connection with a court proceeding.

              August 18, 2008
       Dated: _______________                                                ______________________________
                                                                              /s/ Theresa A. Goldner
                                                                             _______________________
                                                                             Theresa A. Goldner
                                                                             THERESA A. GOLDNER
                                                                             U. S. Magistrate Judge
                                                                             U.S.  Magistrate Judge                                  page 2
